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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                                       )
SALVATORE MANCUSO GOMEZ,                               )
                                                       )
      Petitioner,                                      )   Civil Case: 20-cv-2250 RJL
                                                       )
v.                                                     )
                                                       )
CHAD F. WOLF, ACTING SECRETARY,                        )
U.S. DEPT. OF HOMELAND SECURITY, et al.                )
                                                       )
      Respondents.                                     )
                                                       )


                            JOINT STATUS REPORT

      Pursuant to the Court’s minute order of October 20, 2020, the parties

respectfully submit the following joint status report regarding Mr. Mancuso’s

(Petitioner’s) administrative process.


                      Background and Joint Status Report

      On August 17, 2020, Petitioner filed his Complaint [ECF No. 1] in this matter

and filed an Amended Complaint [ECF No. 14] on September 1, 2020.

1.    On September 2, 2020, the Court held a telephone motions hearing on

      Petitioner’s Motion for a Temporary Restraining Order [ECF NO. 6], which

      had been filed on August 18, 2020. The Court denied Petitioner’s Motion and

      instructed the parties to file a Joint Status Report on September 16, 2020,

      which the parties did.




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2.   On October 15, 2020, the parties filed a joint motion to stay proceedings and

     submit monthly status reports.      The Court granted the joint motion and

     ordered the parties to file a joint status report on or before November 12, 2020.

3.   As the Court noted during the September 2, 2020, hearing, and as the parties

     confirmed in their September 16, 2020, Joint Status Report [ECF No. 18], and

     the October 15, 2020, Joint Motion to Stay Proceedings [ECF No. 19],

     Petitioner is proceeding through an administrative process regarding his

     removal from the United States and the determination of the country to which

     he will be removed.

4.   The parties have continued to confer and agree that a stay of proceedings

     continues to be appropriate so as to permit the ongoing administrative

     proceedings to continue and to preserve the parties’ and the Court’s resources,

     as the administrative proceedings may resolve the need for further judicial

     intervention and proceedings.


Dated: March 13, 2021




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Respectfully submitted,
COUNSEL FOR PETITIONER:

RETURETA & WASSEM, P.L.L.C.              WMR Immigration Law Group, LLC




By:____________________________          By:
Manuel J. Retureta, Esq.                 Hector G. Mora, Esq.
District of Columbia Bar #430006         District of Colombia Bar #489889
300 New Jersey Avenue, NW, Suite 900     1789 Columbia Road NW, Ste. 200
Washington, D.C. 20001                   Washington, D.C. 20009
202.450.6119                             (202) 558-6515
MJR@RETURETAWASSEM.COM                   HMORA@WMR-LAW.COM




                                         /s/    Joaquin Perez
                                         _______________________
                                         Joaquin Perez, Esq.
                                         6780 Coral Way
                                         Miami, Florida 33155
                                         305.261.4000


COUNSEL FOR RESPONDENTS:

Channing D. Phillips
Acting United States Attorney

BRIAN P. HUDAK
Acting Chief, Civil Division

       /s/ April Denise Seabrook
By:___________________________________
APRIL DENISE SEABROOK
D.C. Bar No. 993730
Assistant United States Attorney
555 Fourth Street, N.W.
Washington, D.C. 20530
Phone: 202-252-2525
April.Seabrook@usdoj.gov




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